Case 3:22-cv-00049-NKM-JCH Document 151 Filed 01/27/23 Page 1 of 3 Pageid#: 1404




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTSVILLE DIVISION
    BABY DOE, et al.,                                         CIVIL NO: 3:22-cv-00049
                   Plaintiffs,
            -v.-

    JOSHUA MAST, et al.,

                   Defendants,
    and
    UNITED  SECRETARY                OF     STATE
    ANTONY BLINKEN, et al.
                   Nominal Defendants.


                              MOTION TO APPEAR PRO HAC VICE

          Pursuant to Rule 6(d) of the Court’s Local Civil Rules, Edward Scott Lloyd, local counsel

  for Defendant Richard Mast, hereby moves for this Court to admit David Yerushalmi of the

  American Freedom Law Center to practice pro hac vice in the above-captioned matter. In support

  of this motion, counsel respectfully represents the following:

          1. Mr. Yerushalmi has specialized knowledge and experience in litigating such matters in

  federal court.

          2. Mr. Yerushalmi is not a member of the bar of this Court and is not licensed to practice

  in the Commonwealth of Virginia.

          3. Mr. Yerushalmi is licensed to practice and a member of good standing before all courts

  in the District of Columbia (#978179-admitted 2008), State of New York (#4064606-admitted

  2008), State of California (#132011-admitted 1987), State of Arizona (#009616-admitted 1984).

          4. Mr. Yerushalmi is a member in good standing and duly admitted to practice before the

  following federal courts:

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Case 3:22-cv-00049-NKM-JCH Document 151 Filed 01/27/23 Page 2 of 3 Pageid#: 1405




             •   Supreme Court of the United States

             •   U.S. Court of Appeals, Federal Circuit, District of Columbia Circuit, First Circuit,

                 Second Circuit, Sixth Circuit, and Ninth Circuit

             •   U.S. District Courts for the Districts of Arizona, Central District of California,

                 Eastern District of California, Northern District of California, District of Columbia,

                 Eastern District of Michigan, Western District of Michigan, Southern District of

                 New York, Eastern District of New York, Northern District of New York, and

                 Western District of New York.

         5. Mr. Yerushalmi has familiarized himself with the local rules of this Court and upon

  admission pro hac vice will promptly apply for ECF privileges.

         6. Mr. Yerushalmi is of good character and standing and has the requisite experience and

  professionalism to appear before this Court and zealously advocate for Defendant Mast’s interests.

         7. Mr. Yerushalmi’s contact information is:

                 David Yerushalmi, Esq.
                 American Freedom Law Center
                 2020 Pennsylvania Avenue NW, Suite 189
                 Washington, D.C. 20006
                 Tel. 646.262.0500
                 Email: dyerushalmi@aflc.us
                 Facs. 801.760.3901

         WHEREFORE, counsel respectfully requests the Court admit David Yerushalmi pro hac

  vice to practice before this Court solely in the above-captioned matter. Counsel also moves that

  the Court exercise its discretion to allow Mr. Yerushalmi to “appear at hearings or trials in the

  absence of an associated member” pursuant to Local Rule 6(d).

         Respectfully submitted this 27th day of January, 2023.




                                                   2
Case 3:22-cv-00049-NKM-JCH Document 151 Filed 01/27/23 Page 3 of 3 Pageid#: 1406




                                                /s/ E. Scott Lloyd
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                                                Counsel for Defendant


                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 27, 2023, a copy of the foregoing was filed electronically.

  Notice of this filing will be sent to all parties for whom counsel has entered an appearance by

  operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

  system. I further certify that, there being no parties for whom counsel has not yet entered an

  appearance, no copies copy of the foregoing has been served by ordinary U.S. mail.



                                                /s/ E. Scott Lloyd
                                                E. Scott Lloyd




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